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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

IN THE MATTER OF THE                             §           CIVIL ACTION NO. 2:17-CV-5394
COMPLAINT OF RODI MARINE, LLC,                   §
AS OWNER AND OPERATOR OF THE                     §                          JUDGE MORGAN
M/V WILDCAT, PETITIONING FOR                     §
EXONERATION FROM OR                              §             MAGISTRATE JUDGE NORTH
LIMITATION OF LIABILITY                          §

                   STATEMENT OF UNCONTESTED MATERIAL FACTS

         NOW COMES, claimant / third party defendant, Fieldwood Energy LLC, and pursuant to

Local Rule 56.1 files its Statement of Uncontested Material Facts. The evidentiary support for

each individual statement is attached as exhibits to this pleading.

1.       On May 6, 2014, Rodi, designated as “Operator”, and Kilgore Marine Services, L.L.C.

(hereafter “Kilgore”), designated as “Broker” executed a Brokerage Agreement, a copy of which

is attached as Exhibit 1.

2.       Pursuant to the Brokerage Agreement, Rodi appointed Kilgore as Rodi’s agent for

obtaining charters or similar work contracts for Rodi’s vessels. (Exh. 1, Brokerage Agreement,

p. 1, art.1.)

3.       As set forth in the Brokerage Agreement, Kilgore acted at all times as the broker of the

M/V WILDCAT. (Exh. 1, Brokerage Agreement, p. 1, art.1; Doc. 5, Third Party Complaint, p.

5, para. 8.)

4.       The Brokerage Agreement further provided as concerns the existence of master time

charter parties:

                 It is understood that in consideration of procuring work for [Rodi’s]
         vessel, Charterer may require that a Master Time or similar charter be in place
         between [Kilgore] and Charterer, and that the charter of [Rodi’s] vessel will be
         controlled by the Time Charter. [Rodi] agrees to assume any and all obligations
         which [Kilgore] has assumed in any such Time Charter including, but not limited


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         to, all defense and indemnity and insurance procurement obligations.

(Exh. 1, Brokerage Agreement, p. 2, art. 2.)

5.       Article 5 of the Brokerage Agreement states as follows:

         [Rodi] agrees to protect, defend, and indemnify and safe harmless Broker Group
         for, from and against [1] any and all claims, demands, causes of action and
         liabilities of every kind and character, whether to person or property (including,
         but not limited to personal injury, death, property damage or loss, economic
         damages, costs of litigation and attorneys’ fees), without limit and [2] without
         regard to the cause or causes thereof or the alleged, actual, passive, primary
         and/or secondary negligence, breach of warranty or contract, fault or
         unseaworthiness of Broker Group and/or any other person or entity, and [3]
         whether brought or presented by [Rodi] or by an employee, servant, and/or agent
         of [Rodi], and/or any contractor, sub-contractor, invitee, vendor or client of
         [Rodi] and/or their employees, servants or, agents, arising directly or indirectly
         out of, incident to, and/or connected with (i) [4] the work and/or services to be
         performed under this agreement, and/or (ii) [Rodi’s] failure to honor any of the
         obligations set forth in Section 2(B) of this agreement.

                                              ***

         In addition, [Rodi] shall reimburse Broker Group for any court costs, attorney’s
         fees or any other expenses incurred in pursuit or enforcement of these defense,
         indemnity or insurance obligations.

(Id., p. 3, art. 5) (emphasis and bracketed numbering added).

6.       Effective January 1, 2014, Kilgore and Fieldwood executed a Master Time Charter

Agreement (hereafter “Time Charter”), a copy of which is attached as Exhibit 2.

7.       Paragraph 2 of the Time Charter envisioned Kilgore acting as a broker for the vessels

Fieldwood would decide in the future to charter under the terms and conditions of the Time

Charter, as follows:

                 This Agreement does not obligate [Kilgore] to charter its vessels to
         [Fieldwood], nor does it obligate [Fieldwood] to hire any vessel or vessels owned,
         brokered, or chartered by [Kilgore], but it, together with any Short Form between
         [Kilgore] and [Fieldwood] dated subsequent to the Effective Date, shall govern
         the respective rights and duties of [Kilgore] and [Fieldwood] with respect to the
         charter of [Kilgore’s] vessels by [Fieldwood].

(Exh. 2, Time Charter, pp. 1 – 2, para. 2.)

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8.       The Brokerage Agreement granted Kilgore authority, as broker, to provide the

WILDCAT to Fieldwood for its use as time charterer of the WILDCAT pursuant to the Time

Charter. (Exh. 1, Brokerage Agreement, p. 1, para. 1.)

9.       The Brokerage Agreement defined the term “Charterer” as “any customer for whom the

vessel will be working”. (Id., p. 1, para. 1.)

10.      Additionally, the Brokerage Agreement defined the term “Broker Group” as including

Kilgore, and “any Charterer or customer for whom work is to be performed.” (Id.)

11.      The M/V WILDCAT was working for Fieldwood on or about April 18, 2017, when the

M/V WILDCAT allided with a platform in the Gulf of Mexico. (Doc. 5, Third Party Complaint,

p. 5, para. 8; Doc. 19, Answer and Affirmative Defenses to Third Party Complaint, p. 3, para. 8.)

12.      Accordingly, Fieldwood was a member of the Broker Group.               (Exh. 1, Brokerage

Agreement, p. 1, para. 1.)

13.      Personal injury claims were filed in Rodi’s limitation proceeding by the following

individuals: Antonio Smith (Doc. 4, para. I(1) – “Claimant suffered severe bodily injuries”),

Shawn Philbeck (Doc. 8, para. I – “Shawn Philbeck . . . sustained injuries”), and Lionel Every Jr.

(Doc. 12, para. III(3.1) – “Claimant sustained severe and disabling injuries”).

14.      Rodi has settled the personal injury claims of the other passengers.

15.      On April 17 and 18, 2017, the M/V WILDCAT was working and performing services by

virtue of both the Brokerage Agreement and the Time Charter. (Doc. 5, Third Party Complaint,

p. 5, para. 8; Doc. 19, Answer and Affirmative Defenses to Third Party Complaint, p. 5, para. 8.)




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                                               Respectfully submitted:


                                                   /s/ James D. Bercaw
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                                               Fieldwood Energy LLC

                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 24, 2018, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record.


                                                      /s/ James D. Bercaw




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